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[Stipulating parties listed 0n signature page] F ' L E D

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORN'MY 0 2 2016

 

SAN FRANCISCO DIVISION
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NacLE/ax, us D,S,SHPCTCOG
In re: CATHODE RAY TUBE (CRT) Master File Noa 3 07,`£@%"6§98.%1%~“
ANTITRUST LITIGATION MDL NO 1917
This Document Relates To: STIPULATI()N AN])

ORDER REGARDING SEARS’ &

KMART’S DAMAGES TO BE SOUGHT
Sears, Roebuck and Co. and Kmart Corp. v. AT TRIAL

Chunghwa Picture Tubes, Ltd, No. 11-cv-
05514

 

 

 

ST]PULATION AND [PROPOSED] ORDER REGARDING
SEARS’ & KMART’S DAMAGES TO BE SOUGHT AT Case No. 07-cv-5944 JST (N.D. Cal.)
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WHEREAS the Second Supplemental Expert Report of Dr. Alan Frankel, prepared for
Plaintiff`s Sears, Roebuck and Co. and Kmart Corporation (“Plaintiffs”), dated September 25, 2014
(“the Second Supplemental Report”), sets out two alternative sets of damages estimates in Exhibit
20b regarding certain Hitachi purchases;

WHEREAS Plaintif`fs have determined that they do not intend to pursue the damages
estimates attributed to Hitachi High Technologies that are set out in the first page of that Exhibit
labeled with the Assumption, “Sears Purchases from Hitachi High Tech of Non-Hitachi Branded
Products Are Considered Direct Purchases,” to the extent that they are based on purchases of non-
Zenith- or non-Hitachi-branded finished products;

WHEREAS the Second Supplemental Report sets out two alternative sets of damages
estimates in Exhibit 20b labeled “Bef`ore Mkt Share Adjustment” and “After Mkt Share
Adjustment,” the latter of which reflects Dr. Frankel’s adjustment to his damages estimate for the
tube market share held by companies that Plaintiffs do not contend were part of the alleged
conspiracy; and

WHEREAS Plaintiffs do not seek any damages based on the so-called “umbrella” theory
based on tube sales by companies that Plaintif`f`s do not contend were part of the alleged
conspiracy;

PURSUANT TO LOCAL RULE 7-12, PLAINTIFFS AND DEFENDANT LG
ELECTRONICS, INC., BY AND THROUGH THEIR RESPECTIVE COUNSEL OF RECORD,
HEREBY STIPULATE AS FOLLOWS:

1. Plaintif`f`s will not seek at trial the damages estimates attributed to Hitachi that are set
out on page 1 of Exhibit 20b of the Second Supplemental Report labeled with the Assumption,
“Sears Purchases from Hitachi High Tech of Non-Hitachi Branded Products Are Considered
Direct Purchases,” to the extent that they are based on Sears’ purchases of`non-Zenith- or non-
Hitachi-branded finished products. This stipulation does not affect Plaintif`fs’ ability to seek at trial
the damages estimates attributed to Hitachi that are set out in the first page of Exhibit 20b of the
Second Supplemental Report labeled with the Assumption, “Sears Purchases from Hitachi High
Tech of Non-Hitachi Branded Products Are Considered Direct Purchases,” to the extent that such

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damages are based on Sears’ purchases of Zenith- or Hitachi-branded televisions. Nor does this
stipulation affect Plaintiffs’ ability to seek at trial the damages estimates attributed to Hitachi that

are set out in the second page of Exhibit 20b of the Second Supplemental Report labeled with the

Assumption, “Sears Purchases from Hitachi High Tech of Non-Hitachi Branded Products Are

Considered Indirect Purchases.” Lastly, this stipulation does not affect LGE’s ability to challenge
Sears’ standing to recover any of the damages referenced in this paragraph.

2. Neither Plaintiffs nor their witnesses will present or otherwise make reference to the
damages attributed to Hitachi High Tech based on purchases of non-Hitachi- and non-Zenith-
branded products. Although this stipulation does not prevent Plaintiffs from testifying or
referencing at trial that they made such purchases and did not include them as part of Plaintiffs’
damages claim, LGE reserves the right to object to any such references at trial,

3. Plaintiffs will not seek at trial damages based on the pre-market-share-adjustment
damages estimates presented in the Second Supplemental Report. Although this stipulation does
not prevent Plaintiffs from referencing such damages estimates at trial, LGE reserves the right to
object to any such references at trial,

4. LGE will withdraw as moot issue numbers one and two (i.e., “Umbrella damages” and
“Damages based on purchases of non-Hitachi branded products from Hitachi High Technologies”)
of its Request for Leave to File a Motion to Require Sears/Kmart to Specify Damages Attributable
to Purchases from Specific Vendors and to Clarify Damages Theories, ECF No. 4562.

5. This stipulation shall not be introduced into evidence during the jury trial or read to the
jury during trial, and it shall not be relied on to support an entitlement to any relief not expressly

contemplated by the terms of this stipulation.

STIPULATlON AND [PROPOSED] ORDER REGARDING
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Dated: April 28, 2016 Respectfully submitted,

MUNGER, TOLLES & OLSON LLP

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Attorneysfor Plaintiffs Sears, Roebuck and C0. and
Kmart Corp.

Pursuant to Local Rule 5-1(1), the filer attests that the concurrence in the filing of this

document has been obtained from each of the above signatories.

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lt is so stipulated and agreed to by the parties.

PURSUANT TO STIPULATION, IT IS SO ORDERED.

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Dated: §/7'/|9 ~
U Hon.Jon S.`Ti@
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SEARS’ & KMART’S DAMAGES 'I`O BE SOUGHT A'I` Case No. 07-cv-5944 JST (N.D. Cal.)
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